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                                                          United States District Court
                                                         Western District of Washington




                                                                                   Case Number:

         Plainti (s)                                                               APPLICATION FOR LEAVE TO APPEAR
                                                                                   PRO HAC VICE
         V.




         Defendant(s)

        P rs ant to L R            1(d) of t e nited tates District o rt for t e Western District of Was in ton

                                                      ere applies for per ission to appear and participate as
        co nsel in t e a ove entitled action on e alf of t e follo in part or parties




           e partic lar need for              appearance and participation is




                                                                           nderstand t at a   c ar ed it    no in and co pl in      it
        all applicable local rules;

          ave not een dis arred or for all cens red                           a co rt of record or   a state ar association and t ere are
        not disciplinary proceedings against me.

        I declare under penalty of perjury that the foregoing is true and correct.



       Date:                                                           Signature of Applicant: s/



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                              Case 3:17-cv-05806-RJB Document 47 Filed 03/12/18 Page 2 of 3



     Pro Hac Vice Attorney

     Applicant's Name:

     La      ir      a e

     Street Address 1:

     Address Line 2:

     City:                                                                 State:             Zip:

     P one              er / Area ode                                                Bar #                  State
     Primary E-mail Address:
     (Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

     Secondary E-mail Address:



                                                     STATEMENT OF LOCAL COUNSEL

      a a t ori ed and ill e prepared to andle t is                             a er incl din trial in t e event t e
     applicant                                                                               is unable to be present upon any date
     assigned by the court.

     Date:                                       Signature of Local Counsel: s/

     Local Counsel's Name:

     La      ir      a e

     Street Address 1:

     Address Line 2:

     City:                                                                 State:             Zip:

     P one              er / Area ode                                                Bar #




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                                                   Electronic Case Filing Agreement




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             Date Signed                                  Signature s/
                                                                           (Pro Hac Vice applicant name)




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